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                                Charles Nichols
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                                   In Pro Per

                                                                     May 22, 2017
                                                                       by cm/ecf

Ms. Molly C. Dwyer
Clerk, United States Court of Appeals
for the Ninth Circuit
95 Seventh Street
San Francisco, CA 94103


RE:   Charles Nichols v. Edmund Brown, Jr., et al 9th Cir. No.: 14-55873;
      Rule 28(j) letter

Dear Ms. Dwyer:

      Plaintiff-Appellant Nichols submits the video:
“ROUNDTABLE - Areas of Constitutional Doctrine Transformed” as
supplemental authority under FRAP Rule 28(j).

     This panel was held on November 19, 2016, during the 2016 National
Lawyers Convention in Washington, DC.

--Moderator: Hon. Diarmuid F. O’Scannlain, U.S. Court of Appeals, Ninth Circuit
-- Second Amendment Panelist Prof. Eugene Volokh, Gary T. Schwartz Professor
of Law, UCLA School of Law

https://youtu.be/MDlwbXLpOCI?t=32m34s 32:34 to 38:05 – Last visited May 21,
2017.

https://youtu.be/MDlwbXLpOCI?t=1h19m49s 1:19:49 to 1:22:35 – Last visited
May 21, 2017.




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       Both the majority in the sharply divided and vacated three judge panel
decision as well as the minority in Peruta en banc cited a law review article by
Professor Volokh in support of their conclusion that Open Carry can be banned in
favor of concealed carry despite Professor Volokh saying, in the very same article,
that his personal (functional) view is contrary to the “longstanding American
tradition…exclud[ing] concealed carry.” Reply Brief at 3-4.

      In this panel discussion, Professor Volokh emphatically states that “The one
thing which is clear in Heller is that there is no right to concealed carry under the
Second Amendment..." https://youtu.be/MDlwbXLpOCI?t=1h21m4s – Last visited
May 21, 2017.

       "[A] right to carry arms openly: "This is the right guaranteed by the
Constitution of the United States, and which is calculated to incite men to a manly
and noble defence of themselves, if necessary, and of their country, without any
tendency to secret advantages and unmanly assassinations."" District of Columbia
v. Heller, 128 S. Ct. 2783 (2008) at 2809

    "We therefore hold that the Due Process Clause of the Fourteenth
Amendment incorporates the Second Amendment right recognized in Heller."
McDonald v. City of Chicago, Ill., 130 S. Ct. 3020 (2010) at 3050.

      Notwithstanding the limited exceptions (not at issue here) allowing for
concealed carry under Heller (travelers and persons on a journey Id at 2812) Open
Carry is the Second Amendment right recognized in Heller and that right has been
incorporated against the states in McDonald.

      The body of this letter contains 348 words.


Sincerely,

/s/ Charles Nichols

Charles Nichols
Plaintiff-Appellant in Pro Per

cc: counsel of record (by cm/ecf)




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